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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF IDAHO


IDAHO CONSERVATION LEAGUE and
NORTHWEST ENVIRONMENTAL                              Case No. 1:11-CV-161-REB
DEFENSE CENTER,
                                                     MEMORANDUM RE: SUBSTANTIAL
               Plaintiffs,                           COMPLIANCE
vs.

ATLANTA GOLD CORPORATION,

               Defendant.




        Defendant Atlanta Gold Corporation (“AGC”), through its counsel of record

Points Law, PLLC, respectfully submits this Memorandum Re: Substantial Compliance

per this Court’s Docket Entry Order of August 21, 2018.

        With respect to AGC’s NPDES Permit, and the effluent levels for Arsenic and

Iron contained therein, the Court, in its Memorandum Decision and Order, set a new

compliance deadline for AGC to “substantially comply” with those levels, of August 30,

2018.

        The Court defined substantial compliance as “improving control of the volume of



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water to be treated so that the system is not overwhelmed, and improving the

effectiveness of such treatment in general.” Memorandum Decision and Order, p. 30.

        Since the time the Memorandum Decision and Order was issued in September of

2017, AGC has submitted five verified status reports which described in detail,

improvements to the Pilot Water Treatment Facility (“PWTF”), and improved water

treatment generally, at the 900 level mine adit site in Atlanta, Idaho. AGC will not

restate the contents of those reports here, but will summarize its substantial compliance

with its NPDES permit and the Court’s injunction order as follows:

        As evidenced in the Discharge Monitoring Reports submitted with those status

reports, during the last quarter of 2017 and during 2018, AGC has only had a few

occasions where the sample results for Arsenic and Iron exceeded the respective NPDES

permit limits, which were very minimal in ug levels.

        In compliance with the Court’s instruction, AGC completed a surface water

diversion at the 600 level adit through a designed pipe installation, after it was

determined that a substantial amount of water from higher elevations was flowing

directly into the 900 level adit, particularly during periods of high run off. This, along

with increased maintenance of the filter tanks, changing the order in which the effluent

runs though the respective filters, and changing the aggregate and sand filter material

with increased frequency has allowed AGC to better control the flow of water through the

PWTF and improve the effectiveness of that treatment. AGC also stopped using zero

valent iron in the filter process, which has improved the effectiveness of the filter

material inside the filter tanks and inside the bed of the adit.

        The few documented exceedences occurred on occasions where the filter tanks




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were being cleaned (the water becomes unsettled during this process) and one occasion in

March of 2018, there appeared to be a lab error (a sample bottle switch or sample

contamination).

       AGC continues to perform twice daily inspections/maintenance, as well as

performed weekly sampling of effluent water, influent raw water, and semi treated

effluent water, and monthly sampling of upstream and downstream iron and arsenic

concentrations.

       AGC, through the PWTF, is in substantial compliance with its NPDES permit and

this Court’s injunction order.

Dated this 24th day of September, 2018



                                     By:     /s/ Michelle R. Points
                                           Michelle R. Points




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                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 24th day of September, 2018, I electronically
filed the foregoing VERIFIED STATUS REPORT with the Clerk of the Court using the
CM/ECF system which sent a Notice of Electronic Filing to the following persons:

 Bryan Hurlbutt                             bhurlbutt@advocateswest.org
 Laurence J. Lucas                          llucas@advocateswest.org
 Advocates for the West


 William M. Humphries
 Assistant U.S. Attorney                    bill.humphries@usdoj.gov




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